KERSTIN WALKER SUTTON
                                                                      PLLC

February 8, 2023


John S. Brubaker
Clerk of Court
U.S. District Court for the
Middle District North Carolina
324 W. Market St. #400
Greensboro, NC 27401

Re: Oldham v. University of North Carolina, et al., Case No. 1:22-cv-513-TDS-JEP

Dear Mr. Brubaker:

      Pursuant to Local Rule 7.3(i), Plaintiff Jennifer Oldham submits this addendum to her
Response Briefs to suggest two subsequent pertinent and significant authorities.

      1. Conviser v. DePaul University, No. 20-CV-03094, 2023 WL 130483 (N.D. Ill. Jan. 9,
         2023), and
      2. Snyder-Hill v. Ohio State Univ., 48 F.4th 686 (6th Cir. 2022).

                                          Respectfully submitted,

                                          KERSTIN WALKER SUTTON PLLC

                                          /s/ Kerstin Walker Sutton
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